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                        UNITED STATES BANKRUPTCY COURT
                         SOUTHERN DISTRICT OF FLORIDA

In re:    Ayme Cardenas                                               Case No.: 23-10455-RAM
                                                                      Chapter 13
                   Debtor(s)                     /

                      MOTION TO MODIFY CHAPTER 13 PLAN

         COMES NOW, the Debtor, by and through the undersigned counsel and files this

Motion to Modify Chapter 13 Plan and as grounds states as follows:

         1.      On January 20, 2023 the instant case was filed.

         2.      On June 28, 2023 Debtor’s Chapter 13 plan was confirmed.

         3.      On November 2, 2023, Creditor, Department of the Treasury, filed a

                 priority unsecured amended proof of claim in the amount of $1,607.00 for

                 2022 income taxes.

         4.      Debtor desires to modify the plan in order to provide for the priority

                 creditor.

         WHEREFORE, undersigned counsel prays that this Honorable Court enter an

Order Granting and Approving Debtor’s FIRST Modified Plan.

         I HEREBY CERTIFY that I am admitted to the Bar of the United States District

Court for the Southern District of Florida and I am in compliance with the additional

qualifications to practice in this Court as set forth in Local Rule 910(A).

                               CERTIFICATE OF SERVICE

                 I HEREBY CERTIFY, that a true and correct copy of the foregoing was

sent via ecf to Nancy K. Neidich, Trustee and U.S. Mail on November 3, 2023: to all

parties on the service list.
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Respectfully submitted:        Jose A. Blanco, P.A.
November 3, 2023               By: /s/ Jose A. Blanco | FBN: 062449
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